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OFFICE OF INSPECTOR GENERAL
U.S. Agency for International Development



Contractor Use for Disaster
and Stabilization Responses:
USAID Is Constrained by
Funding Structure but Better
Data Collection Could
Improve Workforce Planning


Report E-000-22-002-M
September 29, 2022




Inspections, Evaluations, and Special Projects Division
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DATE:           September 29, 2022
TO:             Management and Resources, Deputy Administrator, Paloma Adams-Allen
                Policy and Programming, Deputy Administrator, Isobel Coleman
                Office of the Administrator, Chief Diversity Officer, Neneh Diallo
FROM:           Office of Audit, Assistant Inspector General for Audit, Toayoa Aldridge
SUBJECT:        Contractor Use for Disaster and Stabilization Responses: USAID Is Constrained
                by Funding Structure but Better Data Collection Could Improve Workforce
                Planning
This memorandum transmits the final report on our evaluation of the use of contractors within
USAID’s Bureau for Humanitarian Assistance (BHA) and Office of Transition Initiatives (OTI).
Our objectives were to (1) assess advantages associated with BHA and OTI’s use of PSCs and
ISCs, (2) assess challenges associated with BHA and OTI’s use of PSCs and ISCs, and (3) report
on the alternatives that USAID has explored to BHA and OTI’s use of PSCs and ISCs.
The report contains seven recommendations to improve USAID’s management of its
contractor workforce. After reviewing information you provided in response to the draft
report, we consider one recommendation closed (recommendation 6), four resolved but open
pending completion of planned activities (recommendations 1, 3, 4, 5), and two open and
unresolved (recommendations 2 and 7).
For recommendations 1, 3, 4, and 5, please provide evidence of final action to the Audit
Performance and Compliance Division. Please work with us to resolve recommendations 2 and
7.
We appreciate the assistance you and your staff provided to us during this engagement.




USAID Office of Inspector General
Washington, DC
oig.usaid.gov
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Introduction
The workforces of the Bureau for Humanitarian Assistance (BHA) and the Office of Transition
Initiatives (OTI) have supported their missions through a combined use of direct hire staff and
contractors, increasingly relying on the latter over time. BHA and OTI are primarily comprised
of two types of contractors: personal services contractors (PSCs) and institutional support
contractors (ISCs). While this workforce composition provides some advantages, reliance on
contractors also presents a number of challenges.
USAID has recognized that emergency responses are becoming increasingly prolonged. For
example, USAID’s response to Liberia’s Ebola crisis in 2014 lasted less than two years, whereas
the crises in Syria, Iraq, and South Sudan have been ongoing since 2013. Such protracted crises
require staff on the ground not just for months but years. However, contracting mechanisms
are generally short-term in nature and provide staff fewer protections and benefits than those
for direct hire employees—which makes the positions harder to fill for the duration of their
five-year terms. To address staffing needs more effectively, USAID has identified alternative
hiring mechanisms to contractors, but has yet to implement solutions due to budget structure
constraints and other factors.
Data on how contractors are funded, hired, and managed are key to understanding the
workforce challenges and addressing them. USAID has two separate funding streams, each
imposing constraints around how it can be used. This funding dynamic has implications for how
the Agency can staff its missions and dictates the framework within which BHA and OTI
operate, and their efforts to implement alternative approaches have not yet received
congressional approval. Nonetheless, congressional stakeholders verbally expressed to OIG
staff that there is significant lawmaker and staff interest in better understanding USAID’s use of
contractors and its impact on the Agency’s operations.
Prior OIG work first identified staffing concerns in BHA and OTI through Overseas
Contingency Operations quarterly reporting prior to January 2020 that noted changes among
BHA and OTI points of contact each quarter, highlighting a retention concern in these offices.
We conducted this evaluation to:
1. Assess advantages associated with BHA and OTI’s use of PSCs and ISCs,
2. Assess challenges associated with BHA and OTI’s use of PSCs and ISCs, and
3. Report on the alternatives that USAID has explored to BHA and OTI’s use of PSCs and
   ISCs.

We focused on the use of PSCs 1 and ISCs in BHA and OTI, the latter of which sits within the
Bureau for Conflict Prevention and Stabilization (CPS). See Appendix B for an organizational
chart of USAID, with offices in scope of this evaluation highlighted in orange. We conducted
our work from January 2021 to May 2022 in accordance with the Quality Standards for

1
  For this study, PSCs are defined as U.S. nationals hired under contract for personal services. This does not
include Foreign Service Nationals or Third Country Nationals hired as PSCs by overseas missions under Section
636(a)(3) of the Foreign Assistance Act.




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Inspection and Evaluation from the Council of Inspectors General on Integrity and Efficiency. To
answer our objectives, we reviewed documentary evidence, interviewed 19 USAID staff, and
analyzed data from ForeignAssistance.gov and Agency-provided sources. See Appendix A for a
full explanation of our scope and methodology.

Background
Contractors at BHA and OTI
The federal government uses a variety of staffing mechanisms, including contracting for
personnel. In 2020, there were approximately 5 million government contractors, compared to
approximately 2.2 million federal employees and 1.4 million members of the military, according
to analysis by the Brookings Institution. 2
PSCs and ISCs comprised 29 percent of USAID’s overall Fiscal Year (FY) 2020 workforce.
There were slightly more direct hire Foreign Service (FSO), Foreign Service Limited (FSL) and
Civil Service (CS) employees (31 percent), than contractors. The workforce was largely
comprised of foreign service nationals (FSN) (39 percent). The remaining 1 percent of USAID’s
workforce was comprised of Participating Agency Service Agreement staff (PASA) and Fellows.
See figure 1 for USAID staffing by hiring type.

Figure 1: USAID Staffing by Hiring Type

      FSN                                                                                                4,720

      ISC                                                 2,400

      FSO                                   1,705

       CS                                   1,691

      PSC                        1,140

      FSL           355

    PASA      105

    Fellow   42


Source: 2020 Agency Financial Report and HCTM.

Although contractors are less than a third of USAID’s staff, they are the majority at BHA and
OTI. BHA’s objective is to provide “life-saving humanitarian assistance—including food, water,
shelter, emergency healthcare, sanitation and hygiene, and critical nutrition services—to the
world’s most vulnerable and hardest-to-reach people.” OTI’s objective is to support “U.S.

2
 Paul C. Light, “The True Size of Government is Nearing a Record High,” The Brookings Institution, October 7,
2020.




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foreign policy objectives by helping local partners advance peace and democracy. OTI provides
fast, flexible, short-term assistance targeted at key political transition and stabilization needs.”
OTI consists of more than 90 percent PSCs and ISCs, and BHA is comprised of more than 70
percent PSCs and ISCs. The remainder of staff in BHA and OTI consists of U.S. direct hires and
other mechanisms, such as FSN, Intern, and PASA. 3 Figure 2 illustrates the percentage of PSC
and ISC use in BHA and OTI.

Figure 2: PSC/ISC use in BHA and OTI

                         BHA                                                   OTI
                                                                     Other
                                                                     7.5%




              Other                                                 ISC
              29.4%                  PSC                           20.7%
                                    43.0%
                                                                                        PSC
                                                                                       71.8%
                     ISC
                    27.7%




Source: OIG analysis of data from USAID.
Note: The “other” category includes CS, FS, Intern, FSL, FSN, Administratively Determined, PASA, Fellow, and
Grantee.

USAID Funding Structure
USAID’s budget has funding streams split into two categories: program funds and operating
expenses (OE). Program funds are congressionally appropriated funds intended to cover
USAID’s humanitarian and development assistance. OE are a line-item appropriation intended
to cover USAID’s administrative, management, and support expenses. 4 USAID direct hire
employees and PSC and ISC personnel differ in terms of the hiring process, funding source,
scope of work authority, and period of performance.
Direct hires—FSOs, FSLs, and CS staff—are hired through the office of Human Capital and
Talent Management (HCTM) and funded with OE. Direct hire employees can potentially
perform the full scope of inherently governmental functions in terms of human resources,
financial and program management, and procurement throughout their career. PSC and ISC

3
 According to the 2020 Agency Financial Report, U.S. direct hires are comprised of CS, FS, and FSL.
4
 The full spectrum of administrative and operating costs is outlined in a 1977 congressional report that stated that
USAID’s “operating costs include not only the traditional ‘administrative expenses,’ but also the substantial cost of
support and management of programs and projects (such as technical planning and management of specific
projects, contracting, procurement of commodities, engineering services, and handling of trainees from abroad).”




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personnel are brought into the Agency as a procurement by the Office of Acquisition and
Assistance (M/OAA) and funded out of agency appropriations for OE or program funds. The
roles and responsibilities of contractor staff are more limited and defined by a shorter term of
service as provided in their contract.

Flexible Funding Allows BHA and OTI to Hire
Contractors and Meet the Need for Short-term Surge
Staff
Some advantages to using PSCs and ISCs instead of direct hire employees relate to greater
flexibility in how the contracting positions are funded and the increased capacity to respond to
crisis conditions. BHA and OTI have the authority to use program funds to fund PSCs and ISCs.
In addition, BHA and OTI directly control the process for hiring contractors, including technical
surge staff for short-term, rapid deployments to meet staffing needs during a crisis.

BHA and OTI Have the Authority to Fund Contractors With
Program Funds When Operating Expenses Are Limited for
Direct Hires
BHA and OTI rely on notwithstanding authority, outlined in the Foreign Assistance Act of 1961,
as amended, to hire for personal services in the United States, providing them an exception to
federal personnel laws, particularly Title 5 of the U.S. Code. 5 BHA and OTI may use either OE
or program funds to pay for PSCs, as allowed by USAID policy. This provides BHA and OTI
with an additional funding source for personnel as the number of direct hire employees is
limited by OE allocations. For instance, prior to the establishment of BHA from the former
USAID Offices of U.S. Foreign Disaster Assistance and Food for Peace in 2020, BHA
recommended that all management and leadership positions be converted to direct hires;
however, according to BHA, there was a lack of sufficient OE to do so. BHA was able to rely
on other staffing mechanisms and program funding to hire staff in leadership roles.
According to one senior Agency official, OTI has advocated for more OE-funded direct hire
positions to facilitate growing their program. However, this official stated that HCTM cut their
OE, and instead, OTI augmented their staff with the PSC mechanism using program funds.
Another senior Agency official stated that USAID places direct hires elsewhere because BHA
and OTI can hire personnel with program funds. This is supported by our analysis of program
funding per OE-funded position over the last nine fiscal years in three groups: USAID overall,
BHA, and OTI. We found that BHA and OTI have many fewer OE-funded positions
proportional to the amount of program funding they receive compared to the Agency overall.

    •    USAID as a whole: approximately $3 million to $4 million in program funds per OE-
         funded position
    •    OTI: approximately $20 million to $30 million in program funds per OE-funded position


5
    Title 5 of the U.S. Code contains those laws which pertain to the Civil Service.




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  •                         BHA: more than $100 million in program funds per OE-funded position since 2015

See Figure 3 for the comparison.

Figure 3: Program Funding Amount Per OE-Funded Position at USAID

                                             OE funding allocation results in higher program funding per-OE funded direct hire staff in
                                                                  BHA and OTI in comparison to USAID overall.
  Program Funding Amount per OE-Funded




                                         $160 M
                                         $140 M
                                         $120 M
                                         $100 M
                 Position




                                         $80 M
                                                  BHA
                                         $60 M
                                         $40 M OTI
                                         $20 M
                                               USAID
                                           $M
                                             2012                     2014                    2016                    2018                  2020
                                                                                          Fiscal Years


Source: OIG analysis of data from ForeignAssistance.gov and Agency Financial Reports of USAID.

A senior Agency official stated that the notwithstanding authority flexibility is why the Agency
allocates less OE to OTI and BHA. In an interview with OIG, the head of a USAID bureau
indicated that, while program funding amounts are known, there is a lack of visibility on how
USAID internally allocates OE and that they have no way of knowing how much OE other
offices or bureaus at USAID receive. At least once per year, USAID publicly reports the total
and appropriated amount of OE allocated to the Agency in the Agency Financial Report, but
allocations at the bureau or office level have not been reported for at least the last three fiscal
years. Figure 4 shows that OE represents, on average, a relatively stable proportion of USAID’s
program funding of 10.6 percent over the last nine fiscal years.




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Figure 4: Total USAID OE in Proportion to Total Program Funds, FY
2012-2020

                                                   USAID OE has averaged 10.6% of total program funding for the past decade.
                                          15%
    OE as a Percentage of Total Program




                                          10%
                  Funding




                                          5%




                                          0%
                                            2012                   2014                   2016                   2018              2020
                                                                                       Fiscal Year


Source: OIG analysis of data from ForeignAssistance.gov and Agency Financial Reports of USAID.

The use of program funding also allows for PSCs and ISCs to travel more readily to complex
and dangerous crisis environments. Specifically, direct-hire staff must also use OE for their
travel, while PSCs and ISCs can use program funds. USAID interviewees indicated OE funding
for travel was limited, meaning direct hires were not always able to travel.

BHA and OTI Can Identify Staffing Needs and Deploy Surge
Staffing According to Crisis Conditions
BHA and OTI officials said that another advantage to using contractor staff is having greater
control to rapidly respond to emergent or changing crises for humanitarian and stabilization
purposes. While HCTM manages the hiring and allocation process for direct hire employees,
BHA and OTI generally control these processes for contractors. BHA and OTI officials said
they see benefit in being able to assess and timely address their staffing needs based on changes
in workload requirements. 6
BHA and OTI also both said that a benefit of the PSC mechanism is the ability to deploy surge
staff to adjust staffing levels based on short-term needs. Surge capacity is especially useful when
large humanitarian and stabilization responses, such as that for the 2014-2016 West Africa
Ebola response, deplete BHA and OTI’s staffing roster. Unlike full-time PSCs, surge PSCs are
technical experts who serve in an intermittent capacity worldwide up to 250 days per year to
supplement BHA and OTI’s full-time staff. Surge PSCs can be deployed within hours.
Additionally, BHA and OTI’s ISC contract as of March 2022 requires the contractor to be able

6
 HCTM updated its policy for PSCs in 2021, with the goal to “determine if there is an appropriate FSO available
to perform the proposed duties of the … PSC.” The policy stipulates that HCTM approve new PSC positions and
extensions, with some exceptions.




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to provide ad hoc surge capacity. As of January 2022, BHA had 169 surge PSCs compared to
417 full-time PSCs, and OTI has 39 surge PSCs compared to 122 full-time PSCs.

Challenges Include Hiring and Retaining Contractors
for Long-term Mission Needs, and Lack of Data for
Workforce Planning
According to BHA, “the PSC mechanism is a short-term mechanism being used to
  fix a long-term problem, and a procurement solution being used to fix an HR
                                   problem.”

Overall, contracting mechanisms have proven to be important tools to fill short-term needs,
enabling BHA and OTI to rapidly respond to emergencies around the world. However, this
workforce model uses short-term staffing mechanisms and does not systematically capture
workforce data that would allow them to better plan and communicate needs to build a more
sustainable workforce for long-term crises.
BHA and OTI officials stated that some challenges to using PSCs and ISCs instead of direct hire
employees relate to changes in mission needs, contractor hiring and management, and lack of
data and strategy for a sustainable workforce. Specifically, BHA and OTI rely on short-term
contracts to address increasingly protracted crises, with the number of direct hire employees
falling short of mission needs. In addition, BHA and OTI’s procurement of contractors is a
lengthy process and retention is problematic due in part to lack of benefits for contractor
personnel. Furthermore, USAID does not control elements of safety or privacy for contractor
staff, creating confusion and morale issues. Use of contractors has forced the Agency to create
and fund parallel hiring and management structures. Finally, unlike with direct hire staff, the
hiring and management structures for contractors do not include processes to capture data and
metrics to track costs, inform workforce planning, and promote diversity.

BHA and OTI Reliance on Contractors Does Not Support the
Changing Nature of Crises and Places a Burden on Direct
Hires
According to Agency leadership, the nature of disasters is shifting from temporary responses to
protracted crises—which represents an evolution in BHA and OTI’s mandates. The number of
complex emergencies the Agency responds to has increased in the past 20 years from 16 to 44.
USAID assessed that “flexible, longer-term time appointments are required for USAID’s
mission responding to global complex crises.”
Federal internal control standards state that “management should identify, analyze, and respond
to significant changes that could impact internal control.” 7 However, the PSC and ISC models,
which primarily comprise BHA and OTI’s staffing, are intended for short-term services and the

7
  U.S. Government Accountability Office, Standards for Internal Control in the Federal Government, Principle 9.01,
“Identify, Analyze, and Respond to Change,” September 2014.




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contractors serve in a more limited capacity. Furthermore, there are both limitations on what
kinds of duties PSCs and ISCs can perform and a limited number of direct hires who can take
on a full spectrum of government functions. As of March 2022, the ISC contract in BHA and
OTI had a five-year ordering period and PSCs are offered a one-year contract with the option
to renew annually for a maximum of five years. As Table 1 indicates, both are intended for
short-term services as reflected in the contract period.

Table 1: Comparison of Select Types of Contractors with Direct Hires
at USAID
                             PSCs                            ISCs                       Direct Hires
 Staffing mechanism          Procurement through             Procurement through        Hire through Office of
                             M/OAA                           M/OAA                      Human Capital and
                                                                                        Talent Management
 Source of Funding           OE and program funds            OE and program funds       OE
 Who they are and what       Provide specialized technical   Support administrative,    Positions in the Civil
 they do                     assistance in designing and     programmatic, and          Service and Foreign
                             managing programs, primarily    operational functions      Service appointments.
                             in the field.                   for which they require
                                                             space, information,
                             Can also support                information technology
                             administrative and              systems, staff, or other
                             management functions, such      federal government
                             as financial management,        assets.
                             human resources, and
                             procurement.

                             The contract is characterized
                             as an employer-employee
                             relationship between the U.S.
                             government and the
                             contractor.
 Inherently                  Most inherently governmental    No inherently              All inherently
 Governmental                functions except:               governmental functions     governmental
 Functions                   • Hire or supervise direct                                 functions
                                 hires
                             • Communicate final
                                 decisions related to
                                 policy, planning, or
                                 budgets without direct
                                 hire clearance
                             • Obligate funds, unless
                                 delegated authority to do
                                 so




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                               PSCs                            ISCs                      Direct Hires
    Period of Performance      One-year contract with four     Determined by ISC         Career 8 and
                               option years. Can compete       contract                  noncareer 9
                               for new contract after five
                               years total.
Source: OIG analysis of data from USAID.

Even if a PSC’s contract is renewed up to the five-year maximum and USAID determines that
the Agency requires continuity of the same services at the same position level, the contracting
officer must execute a new award following competitive procedures as defined in the Federal
Acquisition Regulations (FAR) and USAID Acquisition Regulation.
Furthermore, there are limitations on what kinds of duties PSCs and ISCs can perform.
Specifically, ISCs are not authorized to complete inherently governmental functions. Inherently
governmental functions are defined in the FAR as “so intimately related to the public interest as
to mandate performance by government employees.” While PSCs may be delegated or assigned
to functions that are delegated or assigned to direct hire employees, USAID regulation restricts
PSCs from supervising direct hires, making final decisions on direct hire personnel selections,
and requires direct hire clearance on communications that reflect final decisions related to
policy, planning, or budgets. According to an official request from USAID to the U.S. Office of
Personnel Management (OPM), the limited authority provided to PSCs and ISCs “adds an
additional burden to already strapped civil service and foreign service staff.” Despite the limited
authorities and short-term nature of contractor staff, BHA and OTI use PSCs to fill leadership
and long-term roles. Contractors can be hired for leadership roles because their reporting
structure is almost completely comprised of contractors except for those at most senior levels,
meaning that contractors largely oversee contractors. As of March 2021, staff with full
authorities were the vast minority in BHA and OTI: BHA had 76 direct hire employees (FS, CS,
FSL) out of a total of 1,334 staff and OTI had 12 out of 227 total staff. In the 2020-2022 Interim
Strategic Workforce Plan, USAID specifically noted that the recently reorganized bureaus—
including BHA and CPS—struggle with the few direct hire staff shouldering the burden of
inherently governmental functions in their office, highlighting this as a “decades long workforce
concern.”

USAID Faces Challenges Recruiting and Retaining PSCs
BHA and OTI face challenges recruiting new PSCs and retaining them for the duration of their
contracts. Federal internal control standards state that “management should demonstrate a
commitment to recruit, develop, and retain competent individuals to achieve the entity’s
objectives.” 10 However, as of early 2022, BHA and OTI stated that their PSC vacancy rates (not
including surge) were 50 percent and 33 percent, respectively. A USAID white paper classified


8
  Career as defined by the Agency’s Automated Directives System (ADS) is “tenure of a permanent employee in
the competitive service who has completed three years of substantially continuous creditable Federal service.”
9
  Noncareer refers to a non-career appointee as defined by the ADS as “an employee hired for a limited
appointment, not to exceed five years, that is not intended to lead to a full career with the Agency.”
10
   GAO, Standards for Internal Control in the Federal Government (GAO-14-704G), “Control Environment,” Principle
4.01, September 2014.




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BHA’s PSC vacancy rate as “a debilitating problem and a corporate risk.” 11 ISC benefits and
hiring are controlled by the ISC’s contractor-employer and compared to PSCs, ISCs had similar
tenures and faster hiring time.
For recruitment, a major contributing factor to BHA and OTI’s challenges is the lengthy PSC
hiring process. According to the Agency’s Automated Directives System (ADS), it should take
145 days from solicitation to award for a personal services contract at USAID. However, BHA
stated it takes 383 days from posting a PSC solicitation to executing a PSC contract, more than
double the Agency standard. This does not account for the nearly 200 days BHA spends to
identify a staffing need and request a new PSC position. This means that nearly 600 days, or
over 1.5 years, are spent on every individual PSC contract in BHA. One Agency official pointed
out that a benefit of the PSC mechanism is the ability to surge staff during a humanitarian
response, but the hiring is slower than for direct hires. According to two OTI staff interviewed,
OTI can hire a PSC in 91 to 183 days, though it takes up to a year in some instances, surpassing
USAID’s procurement standard of 145 days. To reduce the number of days to hire PSCs, both
BHA and OTI embed positions across USAID offices that support hiring to speed the process,
such as positions to support contracting in M/OAA and security clearance processing in the
USAID Office of Security (SEC).
According to OTI data, program managers remain in their five-year contracts an average of 2.5
years, and of all PSCs that left OTI from 2014 to 2019, nearly half left in two years or less. Due
to investments in training and the costs associated with hiring PSCs, BHA estimated that the
Agency loses between $25,000 and $30,000 every time a PSC leaves USAID. 12 OTI
acknowledged that USAID would benefit from higher PSC retention, but USAID has not
developed plans to retain PSCs.
USAID does not control PSC exclusion from certain benefits administered by OPM, such as
federal health coverage and life insurance. According to BHA, the lack of benefits is the main
challenge to recruiting and retaining contractors. In an interview, one BHA employee involved
in PSC hiring offered examples of qualified candidates turning down jobs to fill critical vacancies
because of the lack of benefits. Further, the BHA employee described the PSC mechanism as
“not competitive in the marketplace.” According to members of the PSC Association Executive
Committee, only certain candidates can afford to go overseas without benefits. 13 Some of the
benefits distinctions between direct hires and PSCs include:

•    Health insurance: According to OTI documents, PSCs are contractually obligated to have
     international health insurance, but they must purchase it on healthcare marketplaces or
     through the one available group plan for PSCs. Though they receive partial reimbursement
     for healthcare insurance premiums up to 72 percent, representatives of the PSC
     Association explained that PSCs face challenges covering costs. Some PSCs may face
     challenges covering costs due to the following factors:


11
   USAID White Paper “Proposed Employer Matching Contribution for the USPSCs’ 401(k) Plan” in final draft form
as of April 21, 2021.
12
   USAID White Paper “Proposed Employer Matching Contribution for the USPSCs’ 401(k) Plan,” 2021.
13
   The PSC Association is a registered Employee Resource Group within USAID’s Office of Civil Rights and
Diversity. Employee Resource Groups are voluntarily formed and managed by employees to promote the common
interests of their members at USAID.




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     -   According to OTI, the reimbursement cap has not changed since 2010 despite the
         escalating costs of employer-sponsored health plans (98 percent increase from 2008 to
         2020) and individual health plans (123 percent increase from 2008 to 2019).
     -   According to OTI, PSCs’ health care contributions are posttax (unlike FS and CS, which
         are pretax).
     -   According to OTI, there are no dental, vision, or long-term care group plans for PSCs.
     -   PSCs are responsible for their health insurance costs both domestically and overseas.
•    Life insurance: For PSCs, there is a 50 percent government contribution up to $500 annually
     toward any plan, but there is no group plan or automatic enrollment for life insurance.
     Moreover, OTI stated that PSCs face challenges obtaining life insurance coverage based on
     the dangerous locations of their deployments. One Agency staff noted that they traveled to
     Pakistan as a PSC without being able to qualify for life insurance due to the dangerous
     nature of the work location. According to a letter from the PSC Association Executive
     Committee, a survey it conducted found that over 12 percent of PSC respondents had been
     denied life insurance due to the nature of their work with USAID.
•    Retirement plan matching: PSCs can make pretax deposits to a retirement plan, but they are
     the only staffing mechanism at USAID to not receive a matching contribution. When asked
     “Which one of the following improvements to PSC benefits would you most like to see
     USAID leadership enact or pursue?” in the 2021 PSC Association survey, the top response
     was employer matching contribution to retirement plans. A white paper by USAID’s Bureau
     for Management concluded that the bureau was not aware of any statutory authority
     preventing the Agency from providing a matching employer 401k contribution to PSCs. 14
•    Leave: A representative of the PSC Association stated that the inability to retain accrued
     leave across contracts or request voluntary leave transfers (leave donations) means that
     many PSCs take leave without pay or forfeit leave.
Although USAID does not control PSC exclusion from certain benefits administered by OPM,
such as federal health coverage and life insurance, other benefits are under USAID’s purview.
On December 1, 2021, Administrator Power announced that USAID would provide paid
parental leave of up to 12 weeks and relocation expenses to eligible PSCs, but the Agency did
not change its policy on any other benefits, such as retirement plan matching—a benefit that
was frequently cited as a motivating factor for PSCs departing BHA.
USAID Does Not Control Elements of Safety or Privacy for
Contractor Staff, Creating Confusion and Morale Issues
Though the nature of USAID’s work places many PSCs and ISCs in complex and often
dangerous environments, USAID largely does not control the policies and regulations that
dictate their travel and safety standards. For example, the Department of State’s Foreign Affairs
Manual (FAM) states that as non-U.S. government employees who work for commercial
contractors or nongovernmental organizations, ISCs are excluded from Chief of Mission
(COM) authority. That means the COM is only required to provide ISCs with the same support

14
  USAID White Paper “Proposed Employer Matching Contribution for the USPSCs’ 401(k) Plan” in final draft form
as of April 21, 2021.




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as any private U.S. citizen. Additionally, ISCs fall under their embassy’s Regional Security
Officer’s (RSO) guidelines and restrictions, according to staff involved in the management of
BHA’s ISC contract. Though some ISCs may follow State Department’s RSO guidance as a
practice, a BHA official explained that missions are often uncertain of how to apply policies for
BHA ISC staff, such as recent confusion over COVID-19 related evacuations. ISC travel and
safety is further controlled by the contractor’s employer (contractor-employer), not USAID.
According to USAID’s Risk Appetite Statement, “We will require partners to develop their
security plans in accordance with our rules and parameters, while recognizing that sometimes
the lack of standardization could complicate coordination, or heighten the possibility for
weaknesses.” The ISC contract as of March 2022 does mention that security plans can be
submitted “as appropriate” by the contractor-employer, but the security plans are submitted
separately for each task order instead of being standardized. USAID, however, does have some
control of security plans in the contract by being able to stipulate plan requirements.
For PSCs, the FAM states that PSCs are covered under COM authority. As such, they are
considered “government executive branch employees,” meaning the Secretary of State and
COM have the responsibility to provide them guidance for evacuating under the Emergency
Action Plan Handbook. However, the official Department of State ordered departure cable for
Kabul, Afghanistan stated that PSCs were not considered employees for evacuation purposes,
and that contractors would be “treated in accordance with their contracts.” Additionally,
members of the PSC Executive Committee stated there was confusion as to whether PSCs
were included in COVID-19 related evacuations and that PSCs described not being allowed
back because there was not specific return guidance for PSCs. Though USAID does not control
the foundational policies and regulations that dictate PSC travel and safety, it has an employee-
employer relationship with PSCs. Federal internal control standards state that management
should communicate “quality information down and across reporting lines to enable personnel
to perform key roles in achieving objectives, addressing risks, and supporting the internal
control system.” 15
USAID also does not control some of the requirements associated with federal procurement.
For example, until April 4, 2022, FAR required that PSCs register for a Data Universal
Numbering System (DUNS) with Dun & Bradstreet as part of the acquisition process. 16 As a
result, personally identifiable information (PII)—including PSC’s name, address, and phone
number—is published on the company’s publicly accessible website. PSCs are also required to
register on SAM.gov, which makes their name and address searchable by all federal employees.
We were able to access PSC PII on SAM.gov without having to demonstrate an official “need to
know,” as required by USAID’s Privacy Program.
The requirement to register on SAM.gov and Dun & Bradstreet was raised in interviews with
OIG and the 2021 PSC Association Survey as a morale concern. Survey respondents
emphasized the frustration that they are viewed as a procurement rather than personnel, their



15
   GAO, Standards for Internal Control in the Federal Government, “Information and Communication,” Principle 14.03,
September 2014.
16
   The federal government stopped using the DUNS Number to uniquely identify entities on April 4, 2022. Entities
doing business with the federal government now use the Unique Entity ID created in SAM.gov.




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discomfort with their personal information being posted on websites that are publicly available
or available to all federal employees, and how they worry about the associated security risks.
GSA holds the contract with Dun & Bradstreet and operates SAM.gov; therefore, we are not
making a recommendation about federal employees having access to contractor PII in SAM.gov,
but we will document our concern to General Services Administration (GSA)’s OIG. Though
USAID does not control the requirement that PSCs register on SAM and Dun & Bradstreet,
they are bound by their Privacy Program to protect the PII of all employees, including personal
services contractors. GSA is ending the government-wide use of DUNS provided by Dun &
Bradstreet and will instead use unique entity identifier numbers on SAM.gov. GSA’s
announcement of the pivot to the unique entity identifier did not mention whether GSA would
work with Dun & Bradstreet to remove PSC profiles from their website now that DUNS are
not required. According to the USAID/M, as of January 2022, USAID has not released guidance
to PSCs on what the switch to the unique entity identifier will mean for PSC profiles on Dun &
Bradstreet.

Use of Contractors Forces the Agency to Create and Fund
Parallel Hiring and Management Structures
PSCs are personnel hired as procurements and USAID has needed to create hiring and
management structures parallel to those for direct hires to support PSCs. For challenges with
contractor management, OIG focused on PSCs because ISCs are managed by their contractor-
employer; however, ISC management costs are paid by USAID as a part of the overall contract
amount. As noted in a previous section, BHA and OTI embed staff across the Agency—in SEC,
Office of General Counsel, M/OAA—to support the PSC hiring process. BHA and OTI also use
program funds to staff contract specialists to supplement M/OAA’s contract management of
PSCs, which is an additional administrative cost to USAID for its use of the PSC mechanism.
For example, OTI calculates that it costs nearly $11,000 for its contracts specialists to solicit
and assemble a new PSC award.
M/OAA’s Policy Division provides advice and develops policies on matters related to the use of
personal services contracts. Due to the nature of personal services contracts, this responsibility
extends beyond acquisition and assistance policy and includes interpreting personnel regulations
for PSCs. Though one M/OAA employee said that they are not trained or well-versed in
personnel regulations, they must review personnel rules for direct hires and interpret how they
apply to PSCs. According to a USAID/M employee, two staff members in M/OAA are
responsible for managing personnel rules for PSCs, while HCTM has 217 employees to cover
the function for career staff.
M/OAA contracting officers also take on human resource functions for PSCs. One contracting
officer interviewed explained that M/OAA manages PSCs as individual contracts, administering
all post-award actions, including sick leave, medical leave, evacuations abroad, and employee
misconduct. Though contracting officers are not specialists in personnel regulations, they advise
PSCs on eligibility for personnel programs, such as Family and Medical Leave Act, where a




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direct hire would go to a human resources specialist. 17 One M/OAA staff member discussed the
burden placed on contract staff to handle the volume and lifecycle of contracts for PSCs.
Another M/OAA staff member explained that they are overwhelmed from conducting “cradle
to grave” award management, which differs from other agencies that typically separate the
management of different parts of the hiring and management cycle for PSCs.
Since PSCs are procurements, if BHA and OTI want to keep a PSC beyond the one-year base
term, they must renew the contract annually (up to a total of five years). The renewal process,
known as “anniversary actions,” includes administrative checks (of budgetary resources and
status of security clearance) and a written performance evaluation by the PSC’s supervisor. OTI
estimated that its cost to prepare 115 PSC anniversary actions for M/OAA in FY 2020 was
nearly $124,000. A study by USAID/M consolidated the administrative costs of managing the
PSC mechanism to offices (some mentioned above) and M/OAA. The study found that in 2018,
the administrative cost was approximately $17 million per year 18 to administer the former
Bureau for Democracy, Conflict, and Humanitarian Assistance’s 535 personal service contracts.

USAID Lacks Data and Metrics on Contractors to Capture
Costs, Inform Workforce Planning, and Promote Diversity
Overall, OTI stated that PSCs and ISCs are not tracked Agency-wide in the same way that
direct hires are tracked in HRConnect, and that all employment data of PSCs and ISCs must be
tracked manually. While PSC contracts are managed by USAID/M and overall statistics are
reported in the Annual Financial Report, a senior Agency official said that there is not a way for
USAID to know how many people work at the Agency as PSCs on a given day. According to
M/OAA documentation, “there is almost no Agency-wide or commonly collected data on
USPSC demographics, length of service as a USPSC, grade levels or other information that
would enable a comparison to direct-hire employees.”
USAID annually reports its total cost of operations in the Agency Financial Report, which
comprises OE and program funds. The OE fund was established by Congress in 1976 to isolate
the cost of doing business, or administrative funds. However, in 2003, the Government
Accountability Office (GAO) found that USAID’s OE do not capture the full cost of doing
business since the Agency uses program funds to pay administrative and management expenses
for contractors. As of March 2022, USAID’s primary budget planning system is not able to track
program-funded operational costs in the same way as the accounting system, and there is
limited Agency guidance and oversight for reconciling these approaches. As a result, it makes it
difficult to fully compare and communicate program funds and OE.
Workforce Planning: The Agency’s workforce planning only accounts for civil service and
foreign service employees, who comprise about 40 percent of the workforce, a percentage that
does not include the 2,400 ISCs. Planning the remainder of the workforce is decentralized to
the Bureaus, Offices, and Missions, enabling operational flexibility according to USAID.

17
   Several staff we interviewed noted that PSCs feel like “staplers, pencils, and paperclips” because they are
solicited and have their contracts managed by M/OAA, while other employees receive human resources support
from HCTM in the hiring, onboarding, and employment processes.
18
   USAID White Paper “Proposed Employer Matching Contribution for the USPSCs’ 401(k) Plan” in final draft form
as of April 21, 2021.




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However, in 2010, GAO identified USAID’s limited workforce planning as a core challenge in
the Agency’s ability to address long-term workforce needs. GAO recommended that USAID
“develop a comprehensive workforce plan that accounts for USAID’s total workforce, including
non-direct-hire staff.” GAO considers the recommendation “closed not implemented”—a
classification GAO said it uses after four years of no relevant action by the Agency. As of 2020,
the Agency acknowledges that comprehensive workforce planning is needed for all mechanisms.
Diversity, Equity, and Inclusion: One senior agency official stated that there is a lot more
data USAID wants to capture to improve diversity in the workforce. At USAID, the Office of
Diversity, Equity, Inclusion, and Accessibility (DEIA) processes do not include PSCs and ISCs.
The U.S. Equal Opportunity Employment Commission (EEOC) enforces federal anti-
discrimination law and requires annual diversity reporting from all agencies, but that
requirement does not apply to contractors. As a result, USAID only reported direct hires
employees to the EEOC in 2020 who make up about 40 percent of its employees. 19 That
percentage does not include the 2,400 ISCs who support USAID’s work. In its 2021-2024
Diversity, Equity, and Inclusion Strategy, the Agency committed to working to establish and
implement a “data collection and evaluation plan for non-direct-hire employees capturing
diversity and inclusion data where gaps exist.”
PSCs and ISCs are hired through a procurement process, but OTI stated that there is no
procurement requirement for PSCs or ISCs related to diversity and inclusion. However, the
2021 Executive Order on Advancing Racial Equity and Support for Underserved Communities
Through the Federal Government requires the head of each agency to consult with the Office
of Management and Budget (OMB) to produce a plan to identify any barriers to full and equal
participation in agency procurement and contracting.
While not addressing the data and procurement challenges, USAID has taken steps to integrate
DEIA into the PSC and ISC procurement process. For example, BHA added an interview
question related to DEIA, and OTI told us they are altering language in PSC solicitations to
make it more inclusive and are updating minimum qualifications with the goal of recruiting a
more diverse workforce. A recently executed ISC contract for the Bureau for Development,
Democracy, and Innovation requires the contractor-employer to develop a DEI plan, recruit
using innovative channels, use cutting-edge hiring methods, and retain employees through a
range of professional development and award/reward structures. Given that this is a recent
approach, this language is not included in BHA and OTI’s current ISC contract.

Lack of Stakeholders’ Unity and Funding Authority
Have Hindered Implementation of Staffing Alternatives
USAID, BHA, and OTI, in coordination with internal and external stakeholders, have explored
alternative staffing solutions to BHA and OTI’s use of PSCs and ISCs. However, progress on
proposed staffing solutions is hindered by lack of cohesion among stakeholders due to



19
  Equal Employment Opportunity Commission (EEOC) Management Directive 715 mandates an annual self-
assessment by federal agencies to identify and eliminate barriers that prevent equal opportunities in the workplace.




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competing interests. Additionally, USAID is constrained by lack of authority and funding caps
imposed by Congress.

USAID Has Explored Alternative Staffing Models
USAID has proposed various staffing solutions, including greater use of existing direct hire
authority, as well as two new noncareer staffing types that are time limited, but provide greater
flexibility and benefits. The Agency also studied a procurement alternative that would have one
organization hire PSCs through an indefinite delivery/indefinite quantity contract, and had
McKinsey & Company provide an organizational review on OTI. 20 Additionally, Agency leaders,
including former Administrator Mark Green and the heads of USAID/M and HCTM, have in
congressional testimony and statements discussed staffing challenges, the need for a more
dynamic workforce, and potential solutions. Table 2 shows some of the staffing solutions
USAID has explored as alternatives to BHA and OTI’s use of PSCs and ISCs.




20
     The McKinsey & Company study recommended that OTI pursue a new hiring mechanism similar to the FSL.




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Table 2: Proposed Alternatives to Use of Contractors by USAID
                       Civil Service               Foreign Service              Foreign Service             FSL for Crises               Adaptive Personnel
                       (CS)                        (FS)                         Limited (FSL)                                            Project (APP)
 Description           Title 5 direct hire         Title 22 direct hire         Title 22 direct hire,       Title 22, term-limited,      Title 5 time-limited,
                       mechanism 21                mechanism 22                 congressionally             noncareer staffing           excepted service staffing
                                                                                authorized since FY         mechanism.                   mechanism for certain
                                                                                2004, term-limited,         Unlike FSL, FSL for          noncareer positions to
                                                                                noncareer staffing          Crises is managed to         be hired across BHA,
                                                                                mechanism.                  budget and programs and      OTI, and Bureau for
                                                                                Congress places a dollar    these positions cannot       Global Health (GH).
                                                                                cap on the number of        bid on FS career             Different efforts have
                                                                                FSLs hired each year.       positions or fill FS or CS   focused on funding this
                                                                                USAID cannot use            positions.                   mechanism through
                                                                                notwithstanding authority                                program funds or OE.
                                                                                to hire above that cap.
 Management            HCTM                        HCTM                         HCTM                        HCTM for administrative      Bureaus
                                                                                                            aspects, such as
                                                                                                            recruitment and
                                                                                                            onboarding. Bureaus
                                                                                                            manage budgeting and
                                                                                                            programming.
 Funding               OE                          OE                           OE (for Overseas            Program funds                OE or program funds
                                                                                Contingency Operations
                                                                                only) or program funds
 Advantages            Full authority to perform   Full authority to perform    Can fully represent         Projected to allow for       Projected to improve
 to Workforce          inherently governmental     inherently governmental      USAID’s interests,          the acquisition of           workforce planning,
 and                   functions                   functions                    flexibly meet short-term    difficult-to-fill and/or     agility in hiring, and
 Operations                                                                     contingency                 specialized technical        recruitment and
                                                                                requirements overseas,      talent for limited           retention of staff by
                                                                                and supervise direct        durations in a noncareer     providing competitive
                                                                                hires.                      capacity.                    benefits.
                                                                                                                                         Designed to reduce
                                                                                                                                         management burden on
                                                                                                                                         bureaus and increase

21
     Title 5 of the U.S. Code contains those laws that pertain to the Civil Service.
22
     Title 22 of the U.S. Code contains those laws that pertain to the Foreign Service.




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                   Civil Service               Foreign Service              Foreign Service             FSL for Crises               Adaptive Personnel
                   (CS)                        (FS)                         Limited (FSL)                                            Project (APP)
                                                                                                                                     efficiency by extending
                                                                                                                                     inherently governmental
                                                                                                                                     authorities.
 Status as of      In use but limited by OE    In use but limited by OE     In use with requirement     Not approved for use.        Not approved for use.
 January 2022      funding.                    funding.                     for congressional           OTI stated that HCTM         Congress did not
                                               USAID reformulated the       reauthorization annually.   confirmed that there may     authorize funds for the
                                               crisis, stabilization, and   Since 2009, Congress has    no longer be an FSL          APP and required the
                                               governance FSO               allowed USAID to            ceiling to utilize for the   Administrator to consult
                                               backstop to support          extend FSL appointments     FSL for Crises               with and notify the
                                               humanitarian assistance      for four years after the    mechanism in BHA, GH,        committee of “any new
                                               efforts and strengthen       initial five-year           and OTI. 24                  hiring authority that
                                               linkages between             appointment.                                             requires the approval of
                                               development and                                                                       the Office of Personnel
                                               humanitarian                                                                          Management.”
                                               programming. 23

Source: OIG analysis of information from USAID.




23
   On November 5, 2021, the humanitarian assistance backstop (BS-70) was launched by the Agency. BS-70 will provide a pathway for career Foreign Service
Officers to support humanitarian assistance efforts and help strengthen linkages between development and humanitarian programming.
24
   Congress restricts USAID’s FSL spending to $110 million. BHA and OTI cannot use notwithstanding authority to hire beyond that cap due to the statutes
connected to the mechanism.




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None of these efforts have resulted in changes to BHA and OTI’s reliance on PSCs and ISCs.
Competing stakeholder demands and budget bifurcation continue to constrain progress on
other staffing models.

Competing Stakeholder Interests Have Limited Progress on
Establishing an Alternative Staffing Model
Stakeholders lack agreement on a staffing alternative to the use of ISCs and PSCs in terms of
which unit should manage the hiring mechanism and which staffing mechanism would be most
appropriate for the mission. Each group advocates for alternatives that meet its specific
interests.
There are differing opinions among stakeholders over which operating unit should manage
these hiring mechanisms—the bureaus or HCTM. In their response to OIG, BHA and OTI
jointly stated that staffing for their unique programming would not be possible “using Agency
support,” and BHA and OTI staff said that their own hiring apparatuses parallel to HCTM allow
for a more fast, flexible, and specialized staff. However, two HCTM staff said that they already
work closely with bureaus to fill direct hire needs, and one senior Agency official said that
HCTM can hire for positions faster than BHA and OTI can procure PSCs.
There are also competing viewpoints on the extent to which FSOs can be integrated into BHA
and OTI. The American Foreign Service Association (AFSA) has stated that the Agency’s
“passive neglect and active mismanagement” has resulted in poor integration of FSOs into BHA
and OTI. 25 However, one USAID official cited the bidding cycle as a challenge in integrating
more FSOs into the Agency workforce, and another USAID staff member said that certain
parts of the foreign service are not receptive to bureau concerns. Additionally, integrating more
direct hire positions into BHA and OTI is complicated by the fact that PSCs cannot supervise
direct hires, including FSOs and CS. USAID’s ADS poses this limitation, as the FAR largely
leaves what functions contractors can and cannot perform up to each agency.
Related to integration issues is a perceived general tension, noted by individuals interviewed by
OIG, that exists between BHA and OTI and foreign service staff. One FSO said that OTI is not
a welcoming environment, and another USAID senior official stated that FSOs are told not go
to what is now BHA because it will ruin their career. These sentiments are echoed by other
FSOs, who left BHA and OTI in part due to the working environment and career limitations.
The FSL mechanism addresses some of the limitations of CS, FS, and contracted staff, as it is a
noncareer, direct hire mechanism. FSLs can also oversee direct hires and can be paid for with
program funds. However, FSLs are currently limited by a funding cap, and one stakeholder
indicated Foreign Service concern that positions able to be filled by FSOs are instead filled by
FSLs. Additionally, two Agency staff members said that AFSA has prevented additional FSL
positions in OTI, and one USAID staff said they receive unclear guidance on FSL use.
Two senior Agency officials and one FSO stated that the specialized experience needed to
implement BHA and OTI activities could be found in other staffing mechanisms such as FS, CS,
and alternatives the Agency has explored but has not implemented. Two Agency officials

25
     AFSA is a professional organization and union that advocates on behalf of the U.S. Foreign Service.




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recognized that PSCs are mostly generalists that deepen their skills through a combination of
field experience and training, and another Agency employee said that while specific expertise is
needed at times, some positions are not broadened enough and block out qualified people.

Use of Staffing Alternatives Is Limited by Lack of Authority,
Spending Caps, and Bifurcated Funding Streams
BHA and OTI still rely on PSCs and ISCs and are constrained in expanding the use of direct
hires due to limited OE funding. BHA and OTI also cannot use two of the five alternatives—FSL
for Crisis and APP—because they have either not yet been authorized for use or the Agency
does not have sufficient funding. The APP pilot was initially greenlit by OMB in 2019 but
ultimately did not receive congressional approval, as they did not want to authorize the use of
program funds for a noncareer hiring mechanism. Instead, Congress encouraged USAID to
improve its use of the FSL mechanism. Congress also indicated they were not supportive of
using OE for a new noncareer hiring authority. Therefore, USAID turned its attention to
utilizing the FSL mechanism in a more flexible way, which resulted in FSL for Crises. As of June
2021, OTI stated that HCTM indicated that FSL for Crises may no longer have funding available.
However, USAID is continuing to pursue the FSL for Crises as well as seek congressional
authorization to use program funds to hire Title 5 excepted service time limited positions in
BHA, OTI, and GH (similar to APP but without OPM needing to create a new hiring schedule).
BHA and OTI are limited in expanding the use of FSLs due to a spending cap, which is not to
exceed $110 million for FY 2021. The FSL mechanism has been available to USAID since 2004,
and the restrictions placed by Congress have changed over time. The authority for USAID to
hire FSLs is contained in annual appropriations legislation, meaning that there is no guarantee
that Congress will include it year to year. Restrictions and funding caps may factor into
challenges faced by bureaus when determining how or when to use them, as acknowledged by
stakeholders in BHA and OTI.




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Conclusion
BHA and OTI have become reliant on PSCs and ISCs as a result of limitations caused by
USAID’s bifurcated funding structure. Both BHA and OTI have fewer OE-funded staff
proportional to their program funding, limiting their ability to integrate direct hire positions,
which forces them to hire contractors with program funds. Additional limitations impede the
Agency’s ability to implement alternative staffing models that may be better suited for
increasingly protracted crises that require personnel who can be there for long-term responses.
Within these institutional constraints, PSCs and ISCs allow for staffing flexibility, enabling BHA
and OTI to determine the types of positions they need and rapidly deploy surge PSCs.
However, relying on these contracting mechanisms to fill long-term needs results in significant
challenges for both the Agency and PSCs and ISCs themselves. Challenges include how to
recruit and retain contractors, including consideration of benefits provided to direct hires that
are not available for contractors and ensuring contractors’ safety and privacy.
While USAID bureaus and offices have considered and developed options to address PSC and
ISC challenges, those efforts have been hindered by a lack of data on the program funding being
used for administrative costs and human capital metrics about how best to manage contractors.
Without systematically collecting robust and reliable data, including on diversity and inclusion
for contracting staff, the Agency will be continually challenged to formulate a comprehensive
workforce plan. Data is also important for communicating current use of funding to external
stakeholders, including Congress—which has the authority to change the laws governing
funding and staffing regulations.
The recommendations only include PSCs and ISCs in BHA and OTI—the focus of this
evaluation. However, the recommendations could apply to PSCs and ISCs throughout the
Agency.




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Recommendations
We recommend that Deputy Administrator for Management and Resources oversee that
USAID/M, in coordination with BHA and OTI, take the following actions:
1. Identify, track, and publicly report all costs associated with the PSC and ISC mechanisms,
   fully accounting for program funding used for administrative, management, and support
   expenses.
We recommend that Deputy Administrator for Management and Resources oversee that
HCTM, in consultation with BHA and OTI:

2. Incorporate PSC and ISC staffing mechanisms into its workforce planning, including through
   tracking relevant direct hire metrics, such as the number of employees and their pay levels
   and responsibilities.

We recommend that the Deputy Administrator for Management and Resources oversee that
HCTM, in coordination with BHA, OTI, and other stakeholders:
3. Conduct a workforce assessment and develop a comprehensive plan with options and
   actionable steps for how to create a sustainable humanitarian and stabilization workforce.
We recommend that the Office of Diversity, Equity, Inclusion, and Accessibility, in consultation
with M/OAA:
4. Create a Diversity, Equity, and Inclusion strategy for its contractor workforce, including
   reviewing its data to determine whether PSC and ISC opportunities are available on an
   equal basis to all eligible providers. This includes whether there are any barriers to full and
   equal participation to its PSC and ISC staffing pathways and whether there are opportunities
   to build on diversity efforts in the ISC procurement process.
We recommend that Deputy Administrator for Management and Resources oversee that
M/OAA take the following actions:
5. Provide guidance to PSCs on how to contact Dun & Bradstreet to remove their information
   from its website, now that they are no longer required to maintain a DUNS profile to be in
   good standing.
6. Assess the options for consistent safety standards and procedures for ISCs in future
   contracts and implement identified options as appropriate.
7. Issue clear guidance on travel safety standards and privileges for PSCs as they relate to
   Chief of Mission authority.




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OIG Response to Agency Comments
We provided our draft report to USAID on June 17, 2022. On August 5, 2022, we received the
Agency’s response, which is included as Appendix C of this report.
The draft report included seven recommendations. We acknowledge management decisions on
all recommendations. While the Agency disagreed with Recommendation 6, we consider the
explanation they provided in Agency Comments as a sufficient assessment of options for
consistent safety standards and procedures for ISCs in future contracts and as such, we
consider that recommendation closed. We consider four recommendations resolved but open
pending completion of planned activities (recommendations 1, 3, 4, 5). Finally, we disagree with
the management decisions for recommendations 2 and 7, and as such, consider those
recommendations open and unresolved for the reasons below.

•   Recommendation 2: USAID partially agreed and noted that both PSC and ISC staffing
    mechanisms are being incorporated into workforce planning. The Agency also stated that it
    will incorporate USPSC staffing data, pay levels, and funding information provided by
    USAID/M. We agree that this fulfills the USPSC aspect of the recommendation. However,
    USAID indicated that there are no tracking mechanisms for ISC staffing. To resolve this
    recommendation, USAID should demonstrate that they have tracked and incorporated
    some ISC staffing metrics into Agency workforce planning.
•   Recommendation 7: USAID disagreed with this recommendation, noting that Agency
    guidance is outlined in the AIDAR. However, we found that there was widespread
    confusion around travel safety standards and privileges for PSCs during crises. To resolve
    this recommendation, USAID should provide a clarifying resource, summarizing what PSCs
    are entitled to in terms of safety standards and privileges as they relate to Chief of Mission
    authority in the case of evacuations and other emergency situations, and make that
    information readily available to PSCs.




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Appendix A. Scope and Methodology
We conducted our work from January 2021 to May 2022 in accordance with the Council of the
Inspectors General on Integrity and Efficiency’s Quality Standards for Inspection and Evaluation.
We conducted this evaluation to:
1. Assess advantages associated with BHA and OTI’s use of PSCs and ISCs,
2. Assess challenges associated with BHA and OTI’s use of PSCs and ISCs, and
3. Report on the alternatives that USAID has explored to BHA and OTI’s use of PSCs and
   ISCs.

We conducted 19 semi-structured interviews with staff from BHA, OTI, Office of Human
Capital and Talent Management (HCTM), Bureau for Management, Office of General Counsel,
the American Foreign Service Association (AFSA), USAID’s PSC Association, and senior USAID
leadership.
To assess the advantages associated with BHA and OTI’s use of PSCs and ISCs, we reviewed
and compared documentary and testimonial evidence. We also collected publicly available data
from ForeignAssistance.gov to calculate the funding proportions of OE and program funds to
USAID, and to BHA and OTI.
To assess the challenges associated with BHA and OTI’s use of PSCs and ISCs, we reviewed
and compared documentary and testimonial evidence. To assess privacy concerns of PSCs, we
created a methodology to test claims made by employees and the Agency that contractor
personally identifiable information (PII) was posted on SAM.gov and Dun & Bradstreet’s
website.
To report on alternatives to PSCs and ISCs that USAID has explored, we reviewed and
compared documentary and testimonial evidence.
See Appendix B for a USAID organizational chart and the Bureaus/offices that fall within the
scope of this evaluation.




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Appendix B. Organizational Chart
We focused on the use of the PSCs and ISCs in BHA and OTI. We also gathered data from the
organizational units of USAID that support the BHA and OTI workforce, including both direct
hire employees and contractor staff. HCTM manages the entire organization’s direct hire
workforce. USAID/M, and more specifically M/OAA, manages the procurement process of
PSCs and the overall ISC contract process. See Chart 1 for a full USAID organizational chart,
highlighting in orange the bureaus and offices in this evaluation.




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Chart 1: USAID Organizational Chart Highlighting BHA, OTI, HCTM, USAID/M, and M/OAA




Source: OIG graphic based on USAID’s organizational chart.




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Appendix C. Agency Comments



MEMORANDUM
TO:             Office of Audit, Acting Assistant Inspector General for Audit, Van Nguyen
FROM:           Assistant Administrator for the Bureau for Management, Colleen Allen
DATE:           August 5, 2022
SUBJECT:    Management Comments to Respond to the Draft Evaluation Report Produced by
            the Office of Inspector General (OIG) titled, Contractor Use for Disaster and
            Stabilization Responses: USAID Is Constrained by Funding Structure but Better
            Data Collection Could Improve Workforce Planning (E-000-22-002-M)
_____________________________________________________________________
The U.S. Agency for International Development (USAID) would like to thank the Office of
Inspector General (OIG) for the opportunity to provide comments on the subject draft report.
USAID appreciates the attention to the important management challenges associated with the
Bureau of Humanitarian Assistance (BHA) and the Bureau for Conflict Prevention and
Stabilization, Office of Transition Initiatives’s (CPS/OTI) use of Personnel Services Contracts
(PSC) and Institutional Support Contractors (ISC). In particular, USAID is unique within the
Federal government in receiving “operating expenses” funds which may be used for staff,
separate from the program funds for actual program implementation and oversight. The fact that
USAID receives funds for permanent staff only through a separate agency “operating expenses”
account means that the Agency is unable to adapt to changing programmatic needs in the
humanitarian and transition spaces, which are by definition unpredictable. At least two publicly
available reports produced for Congress have acknowledged this difficulty. 26 A discussion of the
origin, intent, actual consequences, and perhaps potential alternatives for the “operating
expenses” appropriations restriction for USAID could inform potential solutions to the root cause
of the challenge this OIG evaluation advises on.
The Agency agrees with four of the seven recommendations, and has provided plans for
implementing them, and reports on significant progress already made.



26
  See, e.g., the GAO report, “Foreign Assistance: USAID’s Operating Expense Account Does
Not Fully Reflect the Cost of Delivering Foreign Assistance, GAO-03-1152R (Sep 30, 2003)
(available at https://www.gao.gov/products/gao-03-1152r), and “Beyond Assistance: The HELP
Commission Report on Foreign Assistance Reform” (December 2007) (available at
http://helpcommission.info/)




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COMMENTS BY THE U.S. AGENCY FOR INTERNATIONAL DEVELOPMENT
(USAID) ON THE REPORT RELEASED BY THE USAID OFFICE OF THE
INSPECTOR GENERAL (OIG) TITLED, Contractor Use for Disaster and Stabilization
Responses: USAID Is Constrained by Funding Structure but Better Data Collection Could
Improve Workforce Planning (E-000-22-002-M)

Please find below the management comments from USAID on the draft report produced by the
USAID OIG, which contains seven recommendations for USAID.

Recommendation 1: We recommend that Deputy Administrator for Management and Resources
oversee that USAID/M, in coordination with BHA and OTI, take the following actions: Identify,
track, and publicly report all costs associated with the PSC and ISC mechanisms, fully
accounting for program funding used for administrative, management, and support expenses.

    ● Management Comments: USAID/M agrees with this recommendation.

        USAID agrees with the recommendation but notes that the Bureau for Humanitarian
        Assistance (BHA) and the Bureau for Conflict Prevention and Stabilization, Office of
        Transition Initiatives (CPS/OTI) already identify, track, and publicly report program-
        funded administrative, management, and support costs associated with the Personnel
        Service Contracts (PSC) and ISC (Institutional Support Contractor) mechanisms.

        Administrative, management, and support costs associated with the PSC and ISC
        mechanisms are accounted for in the Foreign Assistance Framework and USAID
        accounting system account under the Administration and Oversight Program Area. The
        definition for the Administration and Oversight Program Area is as follows:

                “Supports the following illustrative program-funded costs: salaries of US,
                FSN, and TCN and other staff such as PSCs, RSSAs, PASAs, CASUs
                working for the US Government managing, administering, and supporting
                programs and their program-funded benefits such as housing, travel,
                transportation, education allowances etc; institutional contractors that
                provide such staff, rent, IT services, the program-funded share of utilities,
                staff training costs and the cost of developing and administering training
                programs, equipment and supplies, ICASS, vehicle fuel and maintenance,
                maintenance contracts, janitorial services, operational unit web page
                development and maintenance, outreach such as publications and the cost
                of their preparation (including staff costs), and technical assistance to
                ensure USG compliance with regulations.”

        As these types of commitments and obligations are incurred, they are tagged in USAID’s
        accounting system (Phoenix) with the code for the Administration and Oversight
        Program Area and then can be readily extracted through the various ways USAID
        financial data is reported. In addition, CPS/OTI and BHA each have their own internal
        systems and processes for tracking administrative support and staffing expenses;




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        however, the Foreign Assistance Framework as reflected in the USAID accounting
        system (Phoenix) is the official Agency approach to tracking such costs.

        During the Agency’s annual Operational Resources Request (ORR) process, information
        on projected “program funded operational costs” is reported to the Bureau for
        Management (program funded operational costs are essentially the same thing as the
        Administration and Oversight Program Area). Actual data is also readily available to
        anyone in the Agency via Phoenix reporting tools and the Enterprise Reporting
        Portal. BHA and CPS/OTI track such costs, in similar cost categorizations, for their own
        planning and accounting purposes.

        The Bureau for Management, Office of Management Policy, Budget, and Performance
        (M/MPBP) will confer with BHA and CPS/OTI to determine if there is a need to revise
        the existing reporting template for program funded administrative, management, and
        support costs associated with the PSC and ISC mechanisms to ensure standardized data is
        collected from BHA and CPS/OTI and reported by the Agency.

    ● Target Completion Date: 06/30/23

Recommendation 2: We recommend that Deputy Administrator for Management and Resources
oversee that HCTM, in consultation with BHA and OTI: Incorporate PSC and ISC staffing
mechanisms into its workforce planning, including through tracking relevant direct hire metrics,
such as the number of employees and their pay levels and responsibilities.

    ● Management Comments: USAID/HCTM partially agrees with this
      recommendation.

        While the Office of Human Capital and Talent Management (HCTM) is in the process of
        incorporating PSC and ISC staffing mechanisms into workforce planning reporting,
        OIG’s recommendation includes tracking pay levels, which USAID/M owns and
        USAID/HCTM does not collect. Therefore, USAID/M will provide USPSCs staffing
        data, pay levels, and funding information to HCTM to incorporate into its workforce
        planning reporting. However, there are no tracking mechanisms in place for ISC staffing.

    ● Target Completion Date: 06/30/23

Recommendation 3: We recommend that the Deputy Administrator for Management and
Resources oversee that HCTM, in coordination with BHA, OTI, and other stakeholders: Conduct
a workforce assessment and develop a comprehensive plan with options and actionable steps for
how to create a sustainable humanitarian and stabilization workforce.

    ● Management Comments: USAID/HCTM agrees with this recommendation.

        USAID/HCTM is working on overall Agency workforce assessment and planning
        capabilities, which Bureaus and Independent Offices can thereafter use with
        USAID/HCTM support. In FY 2021, USAID/HCTM worked with BHA on early
        workforce planning assessments to address organizational and workforce planning gaps.



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        This particular support concluded in or around December 2021. While a separate phase of
        this support was envisioned to continue, the lateness of the FY 2022 appropriations
        prevented it from continuing. BHA is continuing this work internally.

    ● Target Completion Date: 09/30/23

Recommendation 4: We recommend that the Office of Diversity, Equity, Inclusion, and
Accessibility, in consultation with M/OAA: Create a Diversity, Equity, and Inclusion strategy for
its contractor workforce, including reviewing its data on PSC and ISC opportunities. This
includes identifying whether there are any potential barriers to full and equal participation to its
PSC and ISC staffing pathways and whether there are opportunities to build on diversity efforts
in the ISC procurement process.

    ● Management Comments: USAID/DEIA partially agrees with this recommendation

        USAID/DEIA will conduct targeted analysis for its contractor workforce, including
        reviewing data to determine whether equity and equal opportunity exists within PSC and
        ISC opportunities. USAID will do this in accordance with our current DEIA strategy
        which was approved July 26, 2022. There is no need to create an additional strategy.

    ● Target Completion Date: 06/30/23

Recommendation 5: We recommend that Deputy Administrator for Management and Resources
oversee that M/OAA take the following actions: Provide guidance to PSCs on how to contact
Dun & Bradstreet to remove their information from its website, now that they are no longer
required to maintain a DUNS profile to be in good standing.

    ● Management Comments: USAID/M agrees with this recommendation

        USAID/M agrees with this recommendation. The Bureau for Management, Office of
        Acquisition and Assistance (M/OAA) will provide guidance to the PSCs on how to
        contact Dun and Bradstreet (D&B) with a letter seeking removal of their profile.
        However, please note that D&B has a contract with the General Services Administration
        (GSA) and they will have the ultimate prioritization authority with regard to contract
        terms.

    ● Target Completion Date: 06/30/23

Recommendation 6: We recommend that the Deputy Administrator for Management and
Resources oversee that M/OAA take the following actions: Assess the options for consistent
safety standards and procedures for ISCs in future contracts and implement identified options as
appropriate.

    ● Management Comments: USAID/M disagrees with this recommendation

        As each ISC organization has the freedom to administer their own travel safety




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        procedures and safety plans, USAID does not have the authority to stipulate travel safety
        procedures and security plans for these organizations. If the expectation is that the
        Agency standardize all the ISCs travel safety procedures and include an updated safety
        plan, OMB would have to allow the Agency to do this and it would require rulemaking.
        Moreover, it would be unlikely for OMB to allow a government agency to interfere with
        an organization's travel safety procedures and safety plans. Further, this recommendation
        appears to be beyond the scope of the stated objectives of this audit, which were to (1)
        assess advantages associated with BHA and CPS/OTI’s use of PSCs and ISCs, (2) assess
        challenges associated with BHA and CPS/OTI’s use of PSCs and ISCs, and (3) report on
        the alternatives that USAID has explored to BHA and CPS/OTI’s use of PSCs and ISCs.

Recommendation 7: We recommend that the Deputy Administrator for Management and
Resources oversee that M/OAA take the following actions: Issue clear guidance on travel safety
standards and privileges for PSCs as they relate to Chief of Mission authority.

    ● Management Comments: USAID/M disagrees with this recommendation as clear
      guidance is already codified in the AIDAR.

        USAID Acquisition Regulation (AIDAR) clauses are incorporated as a term and
        condition of every PSC contract and guidance on travel safety and privileges for PSCs as
        they relate to Chief of Mission authority are specified in two paragraphs in AIDAR
        Appendix D (linked here) USAID Acquisition Regulation (AIDAR) - A Mandatory
        Reference to ADS 300 Series Acquisition Chapters. As stated in Appendix D, 6.
        DIFFERENTIAL AND ALLOWANCES (JUN 1990) page 204,
                6) Payments During Evacuation. The Standardized Regulations (Government
                Civilians, Foreign Areas) provide the authority for efficient, orderly, and
                equitable procedure for the payment of compensation, post differential and
                allowances in the event of an emergency evacuation of employees or their
                dependents, or both, from duty stations for military or other reasons or because of
                imminent danger to their lives. If evacuation has been authorized by the Mission
                Director, the contractor will receive payments during evacuation for
                himself/herself and authorized dependents evacuated from their post of
                assignment in accordance with the Standardized Regulations (Government
                Civilians, Foreign Areas), Chapter 600, and the Federal Travel Regulations, as
                from time to time amended.

        Further, as stated in Appendix D, 10. TRAVEL AND TRANSPORTATION EXPENSES
        (JUL 1993) page 208,
               (i) Emergency and Irregular Travel and Transportation. Emergency transportation
               costs and travel allowances while enroute, as provided in this section, will be
               reimbursed not to exceed amounts authorized by the Foreign Service Travel
               Regulations for USAID direct hire employees in like circumstances under the
               following conditions:

                (1) The costs of going from post of duty in the Cooperating Country to the
                employee’s permanent, legal place of residence at the time he or she was




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                employed for work under this contract or other location for contractor employees
                and dependents and returning to the post of duty, subject to the prior written
                approval of the Mission Director that such travel is necessary for one of the
                following reasons.

                                    (i) Need for medical care beyond that available within the area to
                                    which the employee is assigned, or serious effect on physical or
                                    mental health if residence is continued at the assigned post of duty.
                                    The Mission Director may authorize a medical attendant to
                                    accompany the employee at contract expense if, based on medical
                                    opinion, such an attendant is necessary.

                                    (ii) Death, or serious illness or injury of a member of the
                                    immediate family of the employee or the immediate family of the
                                    employee’s spouse.

                (2) When, for any reason, the Mission Director determines it is necessary to
                evacuate the contractor or contractor’s dependents, the contractor will be
                reimbursed for travel and transportation expenses and travel allowance while
                enroute, for the cost of the individuals going from post of duty in the Cooperating
                Country to the employee’s permanent, legal place of residence at the time he or
                she was employed for work under this contract or other approved location. The
                return of such employees and dependents may also be authorized by the Mission
                Director when, in his/her discretion, he/ she determines it is prudent to do so.

                (3) The Mission Director may also authorize emergency or irregular travel and
                transportation in other situations, when in his/her opinion, the circumstances
                warrant such action. The authorization shall include the kind of leave to be used
                and appropriate restrictions as to time away from post, transportation of personal
                and household effects, etc.

In view of the above, we request that the OIG inform USAID when it agrees or disagrees with
the management comments.




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Appendix D. Major Contributors to This Report
Members of the evaluation team include:

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•   Brianna Schletz, Inspections, Evaluations, and Special Projects Deputy Director
•   Jessica Ernst, Lead Analyst
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The evaluation team would also like to acknowledge contributions from Tanner Horton-Jones,
Wangui Kiundi, Ashley Obando, Tovah Rom, and Adam Walsh.




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